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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

 

HOUSTON DIVISION
NORMAN JARRETT, and § CIVIL ACTION NO. 4:12-cv-00509
OTHERS SIMILARLY SITUATED, §
and JERRY THURMON, §
Plaintiffs, §
§
VS. § COLLECTIVE ACTION REQUESTED
§
POWER LINE SERVICES, § ASSIGNED TO THE HONORABLE
INC., and TOTAL ELECTRICAL § VANESSA D. GILLMORE
SERVICE & SUPPLY CO., §
Defendants. § JURY TRIAL DEMANDED
CONSOLIDATED WITH
JERRY THURMON, WAYNE § CIVIL ACTION NO. 4:11-cv-1365
THURMON, and OTHERS SIMILARLY §
SITUATED, §
Plaintiffs, §
§
VS. §
§
POWER LINE SERVICES, INC. §
TOTAL ELECTRICAL SERVICE & §
SUPPLY CO., and SUN ELECTRIC §
SERVICES, INC., §
Defendants. §

ORDER OF DISMISSAL WITH PREJUDICE

All remaining Plaintiffs (Norman Jarrett and Jerry Thurmon) and all remaining
Defendants (Power Line Services, Inc. and Total Electrical Services & Supply Co. (n/k/a Power
Line Infrastructure Services, Inc.)) have filed a Stipulation of Dismissal with Prejudice (the
“Stipulation”) for all claims and causes of action that were or could have been asserted by

Plaintiffs against Defendants in this lawsuit. Counsel for all parties who have appeared in this
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matter have signed the Stipulation for such parties, reflecting their agreement to the dismissal of
these claims with prejudice. AIl pending motions have been rendered moot by the Parties’
express stipulations.

It is therefore, ORDERED pursuant to Rule 41(a), and to give effect to the Stipulation
signed and filed by all Parties, that this action is DISMISSED WITH PREJUDICE, with
Plaintiffs and Defendants each to bear his or its own costs.

Signed this __4thday of January 2013.

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VANESSA D. GILMORE
UNITED STATES DISTRICT JUDGE

 
